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 1                    UNITED STATES DISTRICT COURT.
                        DISTRICT OF NEW JERSEY
 2
        IN RE: VALSARTAN, LOSARTAN,
 3      AND IRBESARTAN PRODUCTS
        LIABILITY LITIGATION                    MDL NO. 2875
 4                                              HON. ROBERT B. KUGLER
        THIS DOCUMENT RELATES TO:
 5      In Re: Valsartan, Losartan and
        Irbesartan Products Liability
 6      Litigation,
        Case No. 1:19-md-2875-RBK
 7      ---------------------------------x
 8
 9
10        *HIGHLY CONFIDENTIAL REMOTE VIDEOTAPED DEPOSITION*
11                      OF TIFFANIE MRAKOVICH
12                      THURSDAY, JULY 22, 2021
13                            9:08 a.m.
14
                          Witness' Location:
15                      1200 East Market Street
                              Akron, Ohio
16
17              TRANSCRIPT of the stenographic notes of the
18      proceedings in the above-entitled matter as taken by
19      and before DAVID LEVY, a Certified Court Reporter and
20      Notary Public of the State of New Jersey, held
21      remotely over the Internet, on Thursday, July 22,
22      2021, commencing approximately 9:08 in the forenoon,
23      pursuant to Notice.
24
25

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1       A P P E A R A N C E S:
2         (All appearances are remote via Zoom conference.)
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1       A P P E A R A N C E S (Cont'd.):
2       ON BEHALF OF THE DEFENDANTS ZHEJIANG HUAHAI
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          MICHAEL FRYE, ESQ.
24        VINCENT JONES, Intern, Summa Corp.
          NICHOLAS LAYMAN, Videographer
25

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 1                         VIDEOGRAPHER:         Good morning.      We're
 2      going on the record at 9:08 a.m. on July 22nd, 2021.
 3      This is media unit 1 of the video recorded deposition
 4      of Tiffanie Mrackovich taken by counsel in the matter
 5      of In re: Valsartan, Losartan et al. filed in the
 6      United States District Court, District of New Jersey,
 7      case MDL number 2875.          My name is Nicholas Layman
 8      from the firm Veritext, and I'm the videographer.
 9      The court reporter is David Levy from the firm
10      Veritext.
11                         I'm not authorized to administer an
12      oath, I'm not related to any party in this action,
13      nor am I financially interested in the outcome.
14      Counsel will be noted on the stenographic record.
15                         Will the court reporter please swear in
16      the witness and then we may proceed.
17      T I F F A N I E            M R A K O V I C H ,        having been
18                   duly sworn by the Notary Public, was examined
19                   and testified as follows:
20      EXAMINATION BY
21      MR. OSTFELD:
22                  Q.     All right, good morning, Ms. Mrakovich.
23      Am I pronouncing your last name correctly?
24                  A.     Yes.
25                  Q.     I just introduced myself to you a moment

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 1      ago but, for the record, my name is Greg Ostfeld.
 2      I'm one of the attorneys representing Teva
 3      Pharmaceuticals USA, Inc., in this case.            Could you
 4      please state and spell your name for the record?
 5                  A.   Sure.    Tiffanie Mrakovich,
 6      T-i-f-f-a-n-i-e, M-r-a-k-o-vi-c-h.
 7                  Q.   Thank you.       And have you ever been known
 8      by any other name?
 9                  A.   Yes.    My maiden name is Tiffanie Swartz,
10      S-w-a-r-t-z.
11                  Q.   And what is your business address?
12                  A.   1200 East Market Street, Akron, Ohio.
13                  Q.   Have you ever been deposed before?
14                  A.   No.
15                  Q.   All right.       So you probably had an
16      opportunity to speak with your counsel about this.
17      But just to make sure that you and I are on the same
18      page, I'd like to go over a couple of the ground
19      rules that will make this process a little easier
20      today, especially given we're doing this remotely,
21      which is already a complicated and awkward process
22      and made more so when you've got a bunch of attorneys
23      on the line and a court reporter and a videographer.
24                       So I'll start with the simple stuff.
25      You understand that you're under oath just like if

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 1      you were testifying in a courtroom?
 2                  A.   Correct.
 3                  Q.   And for the benefit of the court
 4      reporter, when you and I speak with one another
 5      today, it's important that we not treat it the way we
 6      would an normal conversation where we might know
 7      where the other one is going and just kind of jump in
 8      and start talking or interrupt a little bit, not out
 9      of rudeness but just to kind of move thing along.
10                       We have a court reporter who is taking
11      down everything I say and ever you say, and
12      everything anybody else says, and his life will be
13      made much easier if each of us just pauses for a
14      moment to make sure the other has finished speaking,
15      before we begin speaking, is that fair enough?
16                  A.   Yes.
17                  Q.   Likewise, the court reporter can't
18      really take down, like, shakes of the head or nods of
19      the head or body language.           There's a way of
20      indicating that but it's not as meaningful as words
21      that are spoken out loud.          So if at some point I say,
22      "Is that a yes," "Is that a no," I'm not doing that
23      to be pedantic, I'm doing that for the benefit of the
24      court reporter and for the benefit of the record,
25      okay?

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 1                  A.     Sure.
 2                  Q.     If at any time I ask a question that you
 3      do not understand, which will certainly happen at
 4      times during the day today, that's not a problem,
 5      just let me know and I will do my best to rephrase my
 6      question in a way that you understand it; okay?
 7                  A.     Okay.
 8                  Q.     If you do answer my question, I'm going
 9      to assume that you understood it; is that fair
10      enough?
11                  A.     Yes.
12                  Q.     If at any point you want to take a
13      break, that's fine.         We'll take as many breaks as you
14      want.       We're going to be spending some time together
15      today.       This isn't meant to be a marathon or an
16      endurance contest.         This is supposed to be as
17      comfortable as we can make it for you.
18                         My only request will be, if there's a
19      question pending, unless you feel like you must speak
20      with your attorney, I would ask that you answer the
21      question before you take your break; fair enough?
22                  A.     Okay.
23                  Q.     The last thing that I will say is that
24      because we're in a remote environment, we don't get
25      the benefit of being in a room together and getting

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 1      to see each other, and that involves a lot of trust
 2      on each of our parts.
 3                        So you know, just as if you were
 4      testifying in court, if you were looking at a written
 5      piece of paper or looking at notes or consulting
 6      something to answer my questions, I would be entitled
 7      to see what you were doing or to know that you were
 8      doing that.      So if you consult something other than
 9      your memory in answering my questions today, I would
10      ask that you let me know that you're doing that, and
11      let me know what you're consulting or what you're
12      looking at, okay?
13                  A.    Okay.
14                  Q.    Have you brought any notes or devices or
15      anything with you today that you were planning to
16      consult during the deposition today?
17                  A.    I do have my laptop with some notes that
18      I had jotted down at a point.
19                  Q.    Okay.     And I'm not suggesting that
20      you're not allowed to consult that.                   You're certainly
21      welcome to if it will help you testify today.                   If you
22      do so, I will just ask that you let me know and I may
23      ask to see the notes that you're consulting, okay?
24                  A.    Okay.
25                  Q.    Great.     Then the only other thing that I

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 1      would ask is that, I know that you're there with the
 2      Assistant General Counsel -- is it Assistant General
 3      Counsel or Associate General Counsel?                 You're there
 4      with an attorney from your company.                 Is there anyone
 5      else in the room with you?
 6                  A.   No.
 7                  Q.   Okay.    My last request would be, if
 8      somebody else enters the room, you know, other than
 9      just for like incidental purposes, just, you know, if
10      someone is passing through or whatever, that's fine.
11      But if somebody else enters the room and is planning
12      to stay, will you please let me know?
13                  A.   Yes.
14                  Q.   Okay.    Any questions on your part before
15      we go into this today?
16                  A.   No.
17                  Q.   Do you understand that you are
18      testifying today as a corporate representative?
19                  A.   Yes.
20                  Q.   Could you please explain to you your
21      understanding of what it means to be testifying as a
22      corporate representative?
23                  A.   I am testifying that the drugs that are
24      in question today were not -- should not be covered
25      by our organization because they contain products we

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 1      do not believe we should cover.
 2                  Q.   And when you say "our organization,"
 3      you're referring to SummaCare?
 4                  A.   SummaCare.
 5                  Q.   And you understand that you're
 6      testifying today not just as to your personal or
 7      individual knowledge but as a representative of
 8      SummaCare on the claims that it assigns to the
 9      plaintiff in this case, MSP Recovery Claims Series?
10                  A.   Yes.
11                  Q.   And have you had an opportunity to
12      review the list of topics on which you've been
13      designated as a representative?
14                  A.   Yes.
15                  Q.   Do you believe that you understand and
16      are prepared to testify on each of those
17      approximately 23 topics?
18                  A.   There are some I am not a hundred
19      percent clear on but the bulk of them, yes.
20                  Q.   Okay.    And you know, I don't expect you
21      to be able to recite the topics from memory but if
22      you could describe for me in general terms what the
23      topics are that you're less clear on, please.
24                  A.   Topics related to warranties are ones
25      that are not as clear on what the ask is, or what

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 1      information you're seeking.
 2                  Q.   Okay.    Well, why don't we start there.
 3      When you say that you're confused by that topic, is
 4      it your understanding that the manufacturers,
 5      distributors or retailers of Valsartan made any
 6      warranties to SummaCare as a third-party payor?
 7                       MR. WHORTON:        Objection to form.
 8                       THE WITNESS:        I'm sorry?
 9                       MR. WHORTON:        I'm sorry, I just made an
10      objection to form.       You can still answer.
11                  A.   They -- SummaCare does not have any
12      direct relationships with manufacturers who -- we do
13      not have any warranties in place with manufacturers
14      directly.
15                  Q.   Okay.    Do you have any warranties in
16      place directly with wholesalers?
17                  A.   No.
18                  Q.   Do you have any warranties in place
19      directly with pharmacies or retailers?
20                  A.   No.
21                  Q.   All right.       Other than the warranty
22      topics, are there any other topics on which you feel
23      you don't have a complete understanding or feel
24      unprepared to testify?
25                  A.   Not at this time.

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 1                  Q.     All right.       So for this next question,
 2      I'm not asking you to describe the substance of any
 3      conversations with your attorney.                 Those are
 4      privileged and I don't want to know those, so don't
 5      disclose any of that.          But my next question is, what
 6      have you done to prepare for your deposition today?
 7                  A.     I reviewed the case, the notice, went
 8      through our processes, knowledge and refreshed on the
 9      PBM agreement, reviewed the formularies and our
10      benefits.
11                  Q.     Okay.    I'm sorry, I'm having a little
12      bit of the same problem the court reporter is having,
13      your voice sounds a little bit soft to me.                 Is it
14      possible to move the phone a little bit closer to
15      you?
16                  A.     Sure.    Is that better?
17                  Q.     I think so.       We'll see how that works.
18      All right.       How much time did you spend preparing for
19      your deposition?
20                  A.     Three hours.
21                  Q.     Okay.    Without getting into any of the
22      contents of conversations with attorneys, whom did
23      you speak with in preparing for your deposition
24      today?
25                  A.     The conversation with Charlie from MSP,

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 1      that was an hour-long conversation.
 2                  Q.   Did you speak with anyone else in
 3      preparing for your deposition?
 4                       THE WITNESS:        Charlie, I know someone
 5      else was with you.       I don't recall the name.
 6                       MR. WHORTON:        I think David.
 7                       Greg, if you just -- I'm not trying to
 8      testify, but I want to make the record complete.
 9                       MR. OSTFELD:        Okay.
10                  Q.   I heard Mr. Whorton say that he and
11      Mr. DaPont from his firm were there.                And then,
12      Ms. Mrakovich, I think you were going to identify
13      someone else that was at the meeting?
14                  A.   Mike Frye was also at the meeting.
15                  Q.   Okay.    And that was all one meeting with
16      you and the three of them?
17                  A.   Yes.
18                  Q.   Okay.    Did you speak with anyone else in
19      preparing for your deposition today?
20                  A.   No.
21                  Q.   Did you review any documents in
22      preparing for your deposition today?
23                  A.   Yes, recall notice, the notice of the --
24      whatever this is that we're going through -- and my
25      formularies, plan information, policies.

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 1                  Q.   Okay.    Are you currently employed by
 2      SummaCare?
 3                  A.   Yes.
 4                  Q.   How long have you been with SummaCare?
 5                  A.   Five-and-a-half years.
 6                  Q.   And what is your title?
 7                  A.   Director of Pharmacy.
 8                  Q.   How long have you been the Director of
 9      Pharmacy?
10                  A.   For probably four years.
11                  Q.   And what are your primary
12      responsibilities as the Director of Pharmacy?
13                  A.   Everything as it relates to pharmacy, so
14      managing the relationships with our PBMs, ensuring
15      that they are administering our benefits as we have
16      them outlined; we have several lines of business, of
17      which managed Medicare is primary, that takes a lot
18      of oversight of the PBMs.          I'm responsible for the
19      Pharmacy and Therapeutic Committee, and the
20      formularies that we offer, responsible for medical
21      drug benefit information.          It's a whole host of
22      things that I do.
23                  Q.   Okay.    Did you hold a title at SummaCare
24      prior to the Director of Pharmacy?
25                  A.   Yes.

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 1                  Q.   What was your previous title?
 2                  A.   Manager of Formulary and Pharmacy
 3      Benefits.
 4                  Q.   All right.       And how long did you hold
 5      that position?
 6                  A.   For a year-and-a-half.
 7                  Q.   All right.       Have you held any other
 8      titles at SummaCare?
 9                  A.   No.
10                  Q.   Who was your previous employer before
11      SummaCare?
12                  A.   PDMI.
13                  Q.   All right.       And how long were you there?
14                  A.   Five years.
15                  Q.   All right.       Was that PD or TD?
16                  A.   P as in Paul, D as in dog, MI.
17                  Q.   Okay.    And what was your title there?
18                  A.   Medical pharmacist.
19                  Q.   Could you briefly walk us through your
20      educational background?
21                  A.   Sure.    I got my undergrad at the
22      University of Findlay in biology and environmental
23      health and science, and did work in that field for
24      five years or so; and then went back to pharmacy
25      school at NEOMed in Ohio and got my pharmacist degree

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 1      ten years ago.
 2                  Q.   And was PDMI your first employer after
 3      pharmacy school?
 4                  A.   Yes.
 5                  Q.   Are you employed by SummaCare or by
 6      Summa Health Systems?
 7                  A.   SummaCare.
 8                  Q.   Okay.    And are you familiar with what
 9      the relationship is between those two entities?
10                  A.   I'm not intimately aware, but I
11      understand that that is our -- Summa Health is our
12      parent company.
13                  Q.   Okay, got it.         All right.   And you are
14      currently in Akron, Ohio.          Is SummaCare based in
15      Ohio?
16                  A.   Yes.
17                  Q.   Are you joining this deposition from
18      SummaCare's offices today?
19                  A.   Yes.
20                  Q.   Are all of SummaCare's operations in
21      Ohio?
22                  A.   Yes.
23                  Q.   Are all of SummaCare's members or
24      beneficiaries in Ohio?
25                       MR. WHORTON:        Objection, vague.

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 1                  Q.   You can go ahead and answer if you are
 2      able to.
 3                  A.   The base of all of them are in Ohio but
 4      I know we have a few members that are outside of our
 5      area.
 6                  Q.   Okay.    What is SummaCare's area?
 7                       MR. WHORTON:        Objection, vague.
 8                  Q.   You can go ahead.
 9                  A.   As it relates to a particular line of
10      business?
11                  Q.   Well, you just used the phrase, "Outside
12      of our area."     So I'd like to understand what you
13      mean by SummaCare's area.
14                  A.   It is primarily Ohio.
15                  Q.   Okay.    And when you use the phrase, "Our
16      area," that's the area where SummaCare's membership
17      is based?
18                  A.   Yes.
19                  Q.   Okay.    Just because it's happened a few
20      times now and I'm sure it will happen a lot more
21      during the day, I didn't cover what happens when an
22      objection is made.
23                       So for the most part, at times during
24      the deposition, Mr. Wharton is going to make an
25      objection, like he'll say, "Objection, vague,"

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 1      "Objection, form," and he's typically doing that for
 2      the record.       So after he's made an objection, you can
 3      go ahead and answer the question unless you feel like
 4      you need clarifying or you're not able to answer it,
 5      okay?
 6                  A.     Okay.
 7                  Q.     And if you're not supposed to answer,
 8      I'm quite confident one of your attorneys will tell
 9      you not to answer.         Otherwise you can just go ahead
10      and do so.       It's being made for the record so if a
11      judge has to rule on this later, the judge can do so,
12      fair enough?
13                  A.     Sure.
14                  Q.     All right.       So I think what I'd like to
15      do next is learn a little bit more about SummaCare's
16      membership and plans.          So I am going to try to share
17      screen.
18                         (A pause in the proceedings.)
19                  Q.     All right.       Hopefully, you now have a
20      shared screen in front of you with a document that is
21      marked Exhibit 1.         Do you see that?
22                  A.     Yes.
23      EXH                (Mrakovich Exhibit 1, membership chart
24      and backup, 14 pages, marked for identification, as
25      of this date.)

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 1                  Q.   All right.       So the first page of this is
 2      not going to be familiar to you.               I will represent to
 3      you that the first page of this exhibit is a chart
 4      that we prepared from SummaCare's annual financial
 5      overviews and then there's a bunch of other pages
 6      that are the annual reports that we used to build
 7      this chart.
 8                       I'm not going to ask you, unless you
 9      want to, to read all of those reports in detail right
10      now.    But I just want to scroll through them really
11      fast and ask you in general if you're familiar with
12      these documents.
13                       MR. WHORTON:        Greg, I'm sorry, are you
14      going to put this in the chat room so others can
15      download it and look at it?
16                       MR. OSTFELD:        It's in the Exhibit Share,
17      the Veritext Exhibit Share room.
18                       MR. WHORTON:        Okay.      All right, thank
19      you.
20                       MR. OSTFELD:        Sure.
21                  Q.   Are these reports that you're familiar
22      with?
23                  A.   I have not reviewed these reports.
24                  Q.   Okay.    You're not involved in preparing
25      these reports?

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 1                  A.   No.
 2                  Q.   All right.       The type of information
 3      contained in this report, SummaCare total members and
 4      just, for the record, I'm currently showing you the
 5      financial group for 2016 year-end review, and there's
 6      a series of SummaCare total members broken down by
 7      category and then a total number of 120,396.
 8                       Is the membership base of SummaCare's
 9      plans something you're familiar with?
10                  A.   Yes.
11                  Q.   All right.       So the first page of this,
12      what we've done for convenience is summarize those
13      individualized breakdowns of membership numbers for
14      each year from 2013 to 2019; do you see that?
15                  A.   Yes.
16                  Q.   And I will represent to you that we have
17      transcribed the numbers -- you just saw the sample
18      numbers for, I think it was 2015 or 2016 -- we took
19      those numbers from each report and transcribed them
20      into this chart.
21                       So I will represent to you that we've
22      done that, okay?
23                  A.   Okay.
24                  Q.   So understanding that you almost
25      certainly don't have the exact numbers in your memory

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 1      and at your fingertips, do these numbers generally
 2      look right to you as the breakdown of SummaCare's
 3      membership from 2013 to 2019?
 4                  A.       Yes.
 5                  Q.       Okay.    It looks like the number of
 6      members has declined year to year each year from 2013
 7      to 2019.         Is that right?
 8                  A.       Yes.
 9                  Q.       Do you have an understanding of why the
10      numbers have declined each year?
11                  A.       In some areas, yes.
12                  Q.       Okay.    Could you please share with me
13      your understanding in the areas where you have one?
14                  A.       Um -- sure.       For Medicare, I know, we've
15      had -- well, in 2014, we did have a sanction with CMS
16      and that put our membership for standing members in
17      2015 on hold, so -- and that's probably disrupted
18      some of our membership.             So that was the major
19      decline in the Medicare line of business.
20                           And then just -- we have not had strong
21      sales to gain the membership back.                      It's been a
22      pretty stagnant enrollment around here.
23                  Q.       Okay.    Now, the reports broke down
24      SummaCare's membership into as many as five
25      categories.         So one of the categories kind of went

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 1      away in 2018 and 2019.         The five categories are
 2      commercial self-insured, commercial fully-insured,
 3      group BPO/PS and Medicare and individual PPO.               Are
 4      you familiar with each of those categories and what
 5      each category represents?
 6                  A.   Not in detail.         Just vaguely.
 7                  Q.   Okay.    Then I guess what I'd like to do
 8      is get your best understanding of each of the
 9      categories and we'll go through them.               What is your
10      understanding of what commercial self-insured is?
11                  A.   Well, there are self-funded benefits
12      wherein the insurer is taking on all the risk and
13      we're administering the benefit on their behalf.
14                  Q.   Okay.    And just to kind of go
15      bigger-picture for a moment, does each of these
16      categories represent a different category of plans
17      that are offered by SummaCare?
18                  A.   Yes.
19                       MR. WHORTON:        Objection.
20                  Q.   Okay.    So when we're talking about
21      commercial self-insured, we're talking about
22      commercial self-insured plans where the sponsor of
23      the plan is taking on all of the risk?
24                  A.   Yes.
25                  Q.   Okay.    What is commercial fully-insured?

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 1                  A.     That is where SummaCare is taking some
 2      of the risk and we are building the benefits and
 3      offering them to groups and they can elect to buy or
 4      not, in the fully-insured.
 5                  Q.     I want to understand a little bit better
 6      what you mean when you say, when you talk about who
 7      is taking on the risk.
 8                         Are you speaking in terms of who is
 9      paying the benefit?
10                  A.     I guess I don't know.
11                  Q.     Okay.    So for example, when we're
12      talking about a commercial self-insured plan, if a
13      member fills a prescription under a commercial
14      self-insured plan, who is paying the cost for that
15      prescription, or who is paying the plan's share of
16      the cost of that prescription?
17                         MR. WHORTON:        Objection.     If the witness
18      could -- I'm sorry, sometimes I'll lodge an
19      objection.       So if you could just have a brief pause
20      after the question so I can lodge an objection if
21      necessary.       I was objecting based on the question
22      lacking foundation.
23                         MR. OSTFELD:        Why don't I go ahead and
24      restate the question.
25                  Q.     So Ms. Mrakovich, when we're talking

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 1      about a commercial self-insured plan, do you have an
 2      understanding of who pays the plan's share of the
 3      cost when a member fills a prescription under a
 4      commercial self-insured plan?
 5                  A.   Yes.
 6                  Q.   Okay.    Who incurs that cost?
 7                  A.   We invoice the client self-insured group
 8      for the drug cost.
 9                  Q.   Okay.    So ultimately, it's the client
10      who pays that cost.
11                  A.   Ultimately, yes.
12                  Q.   All right.       And not SummaCare.
13                  A.   Correct.
14                  Q.   So to the extent that you're involved in
15      the payment, it's as a pass-through transaction.
16                  A.   Yes.
17                  Q.   How about for a commercial fully-insured
18      plan?
19                  A.   I have an understanding but I don't
20      know --
21                  Q.   But you don't know?            I'm sorry?
22                  A.   I don't know if my understanding is a
23      hundred percent correct.
24                  Q.   Okay.    I'll take that caveat, and why
25      don't you just share what your understanding is.

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 1                       MR. WHORTON:        Objection, calls for
 2      speculation.
 3                  Q.   Go ahead.
 4                  A.   That SummaCare will pay for those funds
 5      by premiums from these fully insured groups to cover
 6      the cost.
 7                  Q.   Okay.    So in that instance, SummaCare is
 8      collecting premiums from the client and the costs are
 9      covered by SummaCare out of the premiums, is that
10      right?
11                  A.   That's my understanding.
12                  Q.   Okay.    And to the extent that the costs
13      exceed the premiums, that's the risk that SummaCare
14      is incurring?
15                  A.   Could you restate that?
16                  Q.   Sure.    If it turns out that the total
17      cost incurred by the plan in that year exceeds the
18      total premiums collected, that's the risk that you're
19      referring to that SummaCare is taking on?
20                  A.   Correct.
21                  Q.   Okay.    So I want to understand just a
22      little bit better the flow of payments that you
23      described for that pass-through transaction for a
24      self-insured plan.
25                       And for that I think I'm going to have

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 1      to introduce the Pharmacy Benefits Manager concept.
 2      So the SummaCare uses Pharmacy Benefits Managers, is
 3      that right?
 4                  A.   Yes.
 5                  Q.   Do the Pharmacy Benefits Managers have
 6      any role in the flow of payments for a self-insured
 7      plan?
 8                       MR. WHORTON:        Objection, vague.
 9                  A.   I'm not sure I understand.
10                  Q.   Okay.    Maybe it would be easier if I
11      just asked you to walk me through what happens from a
12      plan reimbursement perspective when a member goes to
13      the pharmacy and fills a covered prescription under a
14      self-insured plan.       Could you walk me through that
15      process?
16                  A.   Sure.    So a member goes to the pharmacy,
17      presents their insurance card.             That will get
18      submitted to the PBM, they will process the claim
19      based on our benefit design, and send it back to the
20      pharmacy what the member owes.             And then MedImpact,
21      which is our PBM, will pay the pharmacy and then they
22      will send us a batch invoice for all claims for that
23      line of business and then we will pay MedImpact.
24                       We'll take, for the self-funded groups,
25      we'll take that invoice for the drugs and we will

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 1      tack that on and bill the self-funded client.
 2                  Q.   Okay, thank you, that was very helpful.
 3      So that's how it works for the self-funded groups.
 4      How about for the fully-insured plans, how does that
 5      process differ for the fully-insured plans?
 6                  A.   So the same -- it starts the same with
 7      the member going to the pharmacy, presenting their
 8      card, and getting billed to MedImpact.              MedImpact
 9      will pay the pharmacies and then we will be billed
10      the invoice for the drugs for the fully-insured line
11      of business.     We do not take a claim, then, and pass
12      them on to the fully-insured client.
13                  Q.   Okay.    So essentially the difference
14      from a payment flow perspective between a
15      self-insured and a fully-insured plan is, so for the
16      self-insured plan, you proceed to invoice those costs
17      to the plan sponsor.       For the fully-insured plan, the
18      payments stop with SummaCare because you've collected
19      premiums to cover those payments, is that right?
20                  A.   That's my understanding.
21                  Q.   Okay.    So let's move to the next
22      category, "Group PBO/PSN."           I'll start with, do you
23      know what those acronyms mean?
24                  A.   I do not.
25                  Q.   I looked all the -- I found the terms

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 1      "Business Process Outsourcing" and "Professional
 2      Services Network."       Do those sound right to you?
 3                  A.   I really don't know that much about that
 4      line of business because it was really fading out
 5      when I started here.       I didn't have any focus there.
 6                  Q.   Okay.    All right.         Do you have any
 7      knowledge or understanding of how those plans work?
 8                  A.   I do not.
 9                  Q.   Okay.    Do you have any knowledge of who
10      pays members' claims under those plans?
11                  A.   I do not.
12                  Q.   Okay.    I also want to make sure I'm
13      getting my terminology right.             I've been using the
14      word "members."      Is that how you all designate plan
15      members or enrollees or beneficiaries under your
16      plans or do you use one of those other terms?
17                  A.   Any of those work for me.
18                  Q.   And does the terminology differ if we're
19      talking about Medicare plans vs. commercial plans vs.
20      individual plans?
21                  A.   No.
22                  Q.   Okay.    All right.         So then let's move on
23      to Medicare plans which, if I've understood your
24      testimony earlier, you spend a lot of time dealing
25      with the Medicare plans, is that right?

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 1                  A.   That's correct.
 2                  Q.   Okay.    So could you describe for me what
 3      the Medicare plans are.
 4                  A.   In what respect?
 5                  Q.   So I guess I'll start with the basics.
 6      Does Medicare refer to both Medicare Part D and
 7      Medicare Advantage plans?
 8                       MR. WHORTON:        Objection to form.
 9                  Q.   Go ahead.
10                  A.   From the standpoint of these numbers,
11      I'm not sure what Summa Health reported out, if it
12      was only those that had Part D or a combination, I'm
13      not -- I can't speak to that from the reporting that
14      you've pulled.
15                  Q.   Okay.    Does Medicare -- I'm sorry, does
16      SummaCare have both Medicare Part D and Medicare
17      Advantage plans?
18                       MR. WHORTON:        Objection to form.
19                  A.   I mean, I do believe all advantage plans
20      have Part D.
21                  Q.   Okay.    So do you have Medicare Part D
22      plans that do not have a Medicare Advantage
23      component?
24                  A.   No.
25                  Q.   Okay.

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 1                  A.     Not --
 2                  Q.     Sorry, go ahead.
 3                  A.     -- not currently.
 4                  Q.     Was there a time where you did?
 5                  A.     Before my time, I've heard that we had a
 6      PVP, which was only a Part D plan.
 7                  Q.     But in the time that you've been with
 8      SummaCare, it's only been Medicare Advantage plans
 9      with Medicare Part D coverage?
10                  A.     And we have a very small group of
11      Part-B-only plans, we call them, which is medical
12      plan without a Part D benefit.                We just started those
13      in the more recent years.
14                  Q.     Okay.     I want to make sure I have the
15      time frames correct.          With respect to Part D plans
16      that were not Medicare Advantage plans, do you know
17      if any of those existed at any time between 2013 and
18      2019?
19                  A.     I do not know for sure what year we had
20      the PVP plan.
21                  Q.     Okay.     In terms of the Medicare
22      Part-B-only plans, when did you begin offering those?
23                  A.     I'm trying to think if it was 2019 or
24      2020.       I don't recall for sure.
25                  Q.     Okay.     And then do you have any plans

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 1      that offer Medicare Part A coverage?
 2                  A.       I don't know.
 3                  Q.       Okay.    Earlier you described how the
 4      flow of payments works when a member fills a
 5      prescription at a pharmacy under the two commercial
 6      categories.         Could you please describe now how that
 7      process works when a member in a Medicare plan fills
 8      a prescription at a pharmacy.
 9                  A.       Yes.    It would follow the fully-insured
10      where the member presents their insurance information
11      to the pharmacy, the pharmacy submits the claim to
12      MedImpact, they send back to the pharmacy what the
13      member owes, and then MedImpact will pay the pharmacy
14      through their invoicing and then they will invoice us
15      to collect -- invoice SummaCare to collect back some
16      money.
17                  Q.       Okay.    Now, with the commercial plans,
18      SummaCare's premiums are coming from the plan
19      sponsor.         How does that differ for the Medicare
20      plans?
21                  A.       We have -- our Medicare plans have
22      premiums, so we do have one that is a zero-dollar
23      premium, and then those are paid by the members.
24                  Q.       Okay.    And is there a component of the
25      funding for the Medicare plans that comes from CMS or

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 1      from the government?
 2                  A.   Yes.    That's correct.
 3                  Q.   Okay.    Do you know what the approximate
 4      breakdown is in terms of what the government's share
 5      of the Medicare plans are vs. what the premiums cover
 6      for the Medicare plans?
 7                       MR. WHORTON:        Objection.
 8                  A.   I do not.
 9                  Q.   I'm sorry, you don't know?
10                  A.   I don't know.
11                  Q.   Does it differ from plan to plan?
12                       MR. WHORTON:        Lacks foundation.
13                  A.   I'm not a hundred percent sure.
14                  Q.   Okay.    Whatever share of the Medicare
15      plan comes from the government, it's paid essentially
16      similar to the premiums, it's paid as an up-front
17      cost and not on an individual transaction
18      reimbursement basis, is that right?
19                       MR. WHORTON:        Objection, lacks
20      foundation.
21                  A.   You would have to repeat the question.
22                  Q.   Sure.    Well, when you were describing
23      how a self-insured plan works, you described how
24      SummaCare sends an invoice to the plan sponsor to
25      cover the specific costs that SummaCare is paid to

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 1      the Pharmacy Benefit Manager.                Is there a process
 2      like that for the Medicare plans where direct costs
 3      are billed to Medicare, or is it more like the
 4      premium model where the money comes in from the
 5      government like the premiums do, and then SummaCare
 6      pays the costs?
 7                  A.      I know we get, based on the bid that is
 8      submitted to CMS, we get a monthly amount that's
 9      based on many factors that we use to help pay for
10      Medicare.        But it's not --
11                  Q.      Are you involved -- I'm sorry.
12                  A.      -- it is not invoiced directly based on
13      claims.
14                  Q.      Okay.    Are you involved in the bid
15      process or preparing the bids to Medicare for the
16      plans?
17                  A.      Yes.
18                  Q.      Could you please describe for me, just
19      kind of at a general level, how the bid process works
20      that leads to these monthly payments?
21                  A.      I participate on the bid process as it
22      relates to Part D drugs formulary and information
23      with the PBM.        I don't get into the detail of the
24      financials.
25                  Q.      Okay, got it.         All right.   Do you know

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 1      whether each Medicare plan is bid separately to CMS
 2      or if you bid batches of plans together?
 3                  A.   Separate.
 4                  Q.   Separate.      Okay.      Are the monthly
 5      payments under each plan separate and vary by plan?
 6                  A.   I'm not sure.
 7                  Q.   Okay.    Let's talk about the last
 8      category, "Individual PPO."            Could you describe what
 9      type of a plan the individual PPO plans are?
10                  A.   Um -- you know, I'm not a hundred
11      percent sure.     The way we break out some of our
12      benefits and terminology internally is not the way I
13      break them up with my PBM, so I'm not always on the
14      same page with them.
15                  Q.   Okay.    Do you have any idea of what the
16      individual PPO plans are?
17                  A.   I would be guessing it's related to our
18      marketplace line of business but they are no longer a
19      PPO plan.
20                  Q.   All right.       When you refer to
21      marketplace, is that like the Affordable Care Act
22      marketplace?
23                  A.   Correct.
24                  Q.   Okay.    So -- all right, understood.         For
25      the marketplace plans that you're familiar with, do

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 1      those function like self-insured plans or like
 2      fully-insured plans?
 3                  A.   Like fully-insured plans.
 4                  Q.   Okay.    So the customer pays a premium
 5      and SummaCare incurs the risk, essentially, of
 6      payments exceeding the premium.
 7                  A.   Correct.      We do have individual and
 8      small groups, but that works the same way.
 9                  Q.   Okay.    And the flow of payments works
10      like the fully-insured commercial plan that you
11      described earlier?
12                  A.   Correct.
13                  Q.   Does SummaCare administer its plans in
14      Ohio?
15                  A.   Yes.
16                  Q.   Does SummaCare administer any plans that
17      are not SummaCare plans, like do you have third-party
18      contracts with any other providers to administer
19      their plans for them?
20                  A.   Not at this time.
21                  Q.   Has there been a time where that was
22      done?
23                  A.   Yes, and I -- I do believe that's the
24      BPO piece that I'm not familiar with.
25                  Q.   Okay.    We talked earlier about the fact

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 1      that there may be some members outside of SummaCare's
 2      service area.     Could you please explain how someone
 3      from outside Ohio comes to enroll in an Ohio
 4      insurance plan?
 5                  A.   Yes, those are essentially dependents,
 6      actually, of people that are in Ohio.
 7                  Q.   All right.       Do you know the number of
 8      plans that SummaCare currently offers across all
 9      categories?
10                  A.   It's a lot.       I do not know the exact
11      number.
12                  Q.   When you say "a lot," are we talking
13      thousands, hundreds, dozens?            I just want to, if we
14      can narrow it down at all.
15                  A.   I would say hundreds.
16                  Q.   Hundreds.      And does that number change
17      from year to year?
18                  A.   Slightly.
19                  Q.   Okay.    Do you know, of those hundreds,
20      do you know approximately how many are Medicare
21      plans?
22                  A.   Yes.
23                  Q.   How many Medicare plans does SummaCare
24      currently offer?
25                  A.   I don't know off the top of my head.

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 1                  Q.       Are you able to provide a range?
 2                  A.       Yes.    Probably eight to ten individual
 3      plans and five or six employer group plans.
 4                  Q.       Okay.    Could you explain the difference
 5      between an individual plan and an employer group plan
 6      in the Medicare category?
 7                  A.       So the individual plans are plans that
 8      we put together, submit a bid for and sell out to
 9      individuals that can sign up for our plans.                  An
10      employer group plan would be where a group is paying
11      the premium and selecting the benefits that they are
12      going to offer to the member.
13                  Q.       Okay.
14                  A.       And they are the group paying for part
15      of that.         I'm not sure if they pass the premium on to
16      the members or not.
17                  Q.       Okay.    So in the employer group plan
18      category for Medicare, these are all
19      Medicare-eligible individuals that have plans through
20      their employers?
21                  A.       Correct.      A very small part of the --
22      it's a small part of the business.
23                  Q.       Okay.    Got it.       So there are some
24      employers who offer their eligible employees Medicare
25      Advantage plans alongside whatever private insurance

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 1      options they may offer?
 2                  A.   I believe so.
 3                  Q.   Okay.    In terms of the breakdown of
 4      enrollment between the individual Medicare Advantage
 5      plans and the employer Medicare plans, can you give
 6      me the rough percentages in each, for each?
 7                  A.   Let's say we have -- probably less than
 8      a thousand employer group plan members now.
 9                  Q.   So the remaining 21,000 or so would be
10      in individual Medicare Advantage plans?
11                  A.   Correct.
12                  Q.   In terms of the total number of Medicare
13      plans, has that varied over the years from 2013 to
14      2019?
15                  A.   Yes.
16                  Q.   I'm not going to ask you for the exact
17      number reach year.       But could you please describe for
18      me kind of what the general ranges have been over
19      time from 2013 to 2019?
20                  A.   It's been fairly similar.            We may add a
21      plan here or remove a plan here.               It's not a wide
22      range of changes.
23                  Q.   Okay.    All right.
24                       MR. OSTFELD:        We're about an hour in.        I
25      usually offer a break about every hour or so.               We

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 1      haven't gone quite an hour yet, but I'm about to jump
 2      into formularies and I'm going to have a bunch of
 3      questions there, so if you'd like to take a break
 4      now, we can.       If you want to keep going, we can keep
 5      going for a little while longer, I'll leave it up to
 6      you.
 7                         THE WITNESS:        A break would be good.
 8                         MR. OSTFELD:        Okay.      Let's take, how
 9      about a ten-minute break, does that seem okay?
10                         VIDEOGRAPHER:         Stand by, to get us off
11      the video.       The time is 9:57 a.m.            This concludes
12      media unit 1.
13                         (Recess taken.)
14                         VIDEOGRAPHER:         The time is 10:10 a.m.
15      This begins media unit 2.
16      EXAMINATION (Cont'd.)
17      BY MR. OSTFELD:
18                  Q.     All right.       Ms. Mrakovich, earlier, you
19      indicated that you had reviewed formularies in
20      preparing for your deposition today, is that correct?
21                  A.     Yes.
22                  Q.     All right.       Could you please briefly
23      describe what a formulary is.
24                  A.     A formulary is a list of drugs that the
25      plan covers.       It will notify the members what drugs

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 1      we cover, at what tier we'll cover them, so that they
 2      can understand what their copay will be, and if there
 3      are any restrictions as far as quantities, prior
 4      authorization requirements, step therapy
 5      requirements.
 6                  Q.   And we'll talk a little bit more about
 7      those requirements later.          I'd like to begin with,
 8      does SummaCare use a single comprehensive formulary
 9      across all of its plans or do the formularies differ
10      on a plan-by-plan basis?
11                  A.   They can differ.
12                  Q.   All right.       Does each plan have its own
13      formulary?
14                  A.   Define "plans," please.
15                  Q.   Okay.    Let's start with the Medicare
16      plans, because we're going to be spending most of our
17      time talking about those.          You described earlier that
18      there's about dozen or so Medicare plans that
19      SummaCare offers.     Do each of those plans have its
20      own formulary or is it one formulary for all of them
21      or somewhere in between?
22                  A.   For Medicare, we have one formulary for
23      all of them.
24                  Q.   Okay.    And does that formulary have a
25      name or a terminology that you apply to it at

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 1      SummaCare?
 2                  A.     The SummaCare Medicare formulary.
 3                  Q.     Okay.    I've seen documents containing
 4      the title, "Comprehensive Formulary."                 Is that the
 5      Medicare formulary?
 6                  A.     Yes.
 7                  Q.     All right.       So that's on the Medicare
 8      side.       How about for the commercial plans, do they
 9      have their own comprehensive formulary or their own
10      commercial formulary?
11                  A.     We have two formularies for commercial.
12      One is specific to our marketplace plan, and then we
13      have another one that covers the rest of our
14      several-funded and commercial plan.
15                  Q.     Okay.    All right.         Does SummaCare design
16      its own comprehensive formulary for Medicare or are
17      they developed by the Pharmacy Benefits Manager?
18                         MR. WHORTON:        Object to form.      Vague.
19                  A.     We used to do our own custom Medicare
20      formulary with the PBM.           We did switch to a standard
21      PBM formulary in 2015 so.
22                  Q.     So from 2015 to the present, you've been
23      using a standard formulary prepared by the Pharmacy
24      Benefits Manager?
25                  A.     Yes.

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 1                  Q.   And prior to 2015, you customized your
 2      own formularies with the PBM, is that what you said?
 3                  A.   I was not here before 2015.         It was a
 4      custom formulary, it was not a MedImpact standard
 5      formulary, that's all I know.
 6                  Q.   Understanding that this is before your
 7      time, do you have any understanding of how the
 8      customization process worked when SummaCare
 9      customized its own formulary?
10                  A.   I do not know how that one originated.
11      I know that they would take feedback from the PBMs
12      when making a decision.
13                  Q.   Okay.    Now that SummaCare uses a
14      standard formulary from the PBM, is it just one
15      option or does the PBM present multiple options and
16      SummaCare chooses between different standard
17      formularies?
18                  A.   There are multiple options.
19                  Q.   All right.       And are you involved in
20      selecting which formulary SummaCare uses each year?
21                  A.   Yes.
22                  Q.   All right.       Could you describe how the
23      process works for SummaCare to select a standard
24      formulary each year?
25                  A.   We evaluate the -- PBM will put out a

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 1      white paper, a documentation that tells you what
 2      formulary options they have.            The differences vary by
 3      the number of tiers you may offer and why they may
 4      choose to place some of the generic products, and
 5      then you can select how many tiers you want on your
 6      formulary, and where you want some of the generic
 7      products to fall.       We evaluate against our
 8      competitors and our current utilization and decide
 9      what makes sense for us.
10                  Q.   Okay.    I want to drill down a little bit
11      on each of those two items, the number of tiers and
12      where the generic products fall on the formulary.
13                       How many tiers does SummaCare's current
14      Medicare comprehensive formulary have?
15                  A.   Six.
16                  Q.   All right.       And has it been six for the
17      entire time that you've been with SummaCare?
18                  A.   No.
19                  Q.   What other numbers of tiers has
20      SummaCare used in the past?
21                  A.   Five.
22                  Q.   Okay.    Does the Pharmacy Benefits
23      Manager offer formularies that have different numbers
24      from either five or six tiers?
25                  A.   Yes.

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 1                  Q.   What are, I guess, the different tier
 2      options that have been made available, the PBM's
 3      standard formularies?
 4                  A.   I don't recall them all.             We've always
 5      focused on five and six.
 6                  Q.   Okay.    What difference does it make in
 7      terms of the number of tiers that are offered in the
 8      formulary?
 9                  A.   I'm not sure I know what you're asking
10      with that.
11                  Q.   Okay.    In terms of evaluating, for
12      example, you want five or six tiers, what are the
13      implications of that decision from SummaCare's point
14      of view that leads you to choose one vs. the other?
15                       MR. WHORTON:        Objection, vague.
16                  A.   The sixth tier we added several years
17      ago, I don't remember the exact year, to cover
18      vaccines at zero dollars per member.                So that's the
19      difference between five and six.               We just moved some
20      vaccines into the sixth tier to cover them as well.
21                  Q.   Okay, got it.         So as far as the
22      placement of generic medication, could you please
23      describe how different formularies in terms of which
24      tiers generic products are placed into?
25                  A.   So the SummaCare formularies I can speak

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 1      to, the SummaCare Medicare.            And we've always had two
 2      tiers of generic, tier one being our preferred
 3      generics, and tier two being generic.
 4                  Q.   Okay.    Are there other formularies that
 5      don't put generics into multiple tiers like that?
 6                  A.   I suppose you could select one, but we
 7      never have.
 8                  Q.   Are there formulary options where you
 9      have more than two tiers of generic products?
10                  A.   There are formulary options where you
11      can move generics into the higher tiering.               They are
12      not solely generic tiers.
13                  Q.   Got it.     I think you said SummaCare's
14      current Pharmacy Benefit Manager is MedImpact?
15                  A.   Correct.
16                  Q.   How long has MedImpact been SummaCare's
17      PBM?
18                  A.   Since 2012.
19                  Q.   All right.       So the entire time you've
20      been with SummaCare, it's been MedImpact?
21                  A.   Yes.
22                  Q.   Do you know who SummaCare's PBM was
23      prior to MedImpact?
24                  A.   Yes.
25                  Q.   Who was it?

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 1                  A.   Catalyst?      They have changed over so
 2      many times, I think that was the name they were under
 3      at that point in time.
 4                  Q.   I'm sorry, what was the name?
 5                  A.   Catalyst.
 6                  Q.   Catalyst.      Okay.      And how long was
 7      Catalyst the PBM?
 8                  A.   I don't know.
 9                  Q.   Okay.    How often does SummaCare
10      renegotiate or renew its contracts with MedImpact?
11                  A.   Our terms are about three years each and
12      we do a market check somewhere in that time frame to
13      evaluate rates.
14                  Q.   Okay.    I want to understand a little bit
15      better when you say that these are standard
16      formularies from the PBM.          Is there any customization
17      or adjustment of the formularies or is it essentially
18      you're shown several out-of-the-box options and you
19      pick one of them?
20                       MR. WHORTON:        Objection to form.
21                  A.   We are shown different options, again
22      with tiering.     The drug list cannot be changed,
23      essentially.     You have some opportunities to do
24      something in the sixth tier if you like, as we chose
25      to put vaccines in the sixth tier for zero dollar

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17                  Q.   I'm going to stop sharing for a moment
18      so I can switch exhibits.
19                       MR. WHORTON:      Greg, was that Exhibit 2?
20                       MR. OSTFELD:      That was Exhibit 2.    And
21      incidentally, I have a bad history of sometimes
22      forgetting to share my screen; so if at some point
23      I'm asking you questions and it appears like I'm
24      referring to a document and you have no idea why
25      there's nothing on screen, if you could just let me

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 1      know, I probably just need a reminder to share my
 2      screen.
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11                         MR. OSTFELD:      I'm at least temporarily
12      done with this exhibit, and it's been about another
13      hour.       Would you like to take another break?
14                         THE WITNESS:      Yes, please.
15                         MR. OSTFELD:      Why don't we take a
16      ten-minute break.
17                         VIDEOGRAPHER:       The time is 11:15 a.m.
18      This concludes media unit 2.
19                         (Recess taken.)
20                         VIDEOGRAPHER:       The time is 11:29 a.m.
21      This begins media unit 3.
22      EXAMINATION (Cont'd.)
23      BY MR. OSTFELD:
24                  Q.     All right.     I think what I'd like to do
25      next is get a little better understanding in concrete

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 1      terms what the different tier levels mean in terms of
 2      the copays that are paid by the members.                 So I'm
 3      going to share my screen again.              And hopefully you
 4      now have on your screen what has been marked for
 5      identification as -- you know what?                 I've got to
 6      wrong document.      Let me switch out.
 7                       (A pause in the proceedings.)
 8                  Q.   Okay.    Now I'm going to show you what
 9      has in fact been marked for identification as
10      Exhibit 4.
11      EXH              (Mrakovich Exhibit 4, 2015 formulary
12      co-pay schedule effective 1/1/15, three pages, marked
13      for identification, as of this date.)
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 1                  Q.   All right.       Well, that transitions us
 2      nicely into our next exhibit.             So one moment.
 3                       (A pause in the proceedings.)
 4                  Q.   Okay, I am now going to show you what
 5      has been marked for identification as Exhibit 5.
 6      EXH              (Mrakovich Exhibit 5, updated formulary
 7      co-pay schedule, effective 8/1/15, three pages,
 8      marked for identification, as of this date.)
 9                  Q.   So this is another version of the 2015
10      comprehensive formulary.          Although it says,
11      "Effective January 1, 2015," on the cover page, on
12      the second page, you'll see there is an effective
13      date of August 1st, 2015.          Do you see that?
14                  A.   Yes.
15                  Q.   And then I'm going to take you to the
16      co-pay chart that we were just looking at.               And now
17      in the August 1st, 2015 version of the chart, we have
18      another category, Topaz; is that the plan you were
19      just referring to?
20                  A.   Yes.
21                  Q.   Okay.    Is it unusual for a formulary to
22      be updated midyear?
23                  A.   No.
24                  Q.   What are the circumstances that would
25      lead to a formulary being updated with an effective

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 1      date in midyear?
 2                  A.   CMS requires a monthly submission of a
 3      formulary for Medicare.         And --
 4                  Q.   Okay.
 5                  A.   -- they may make changes based on the
 6      formulary reference file that CMS publishes monthly,
 7      the plan reference.
 8                  Q.   Got it.     So it sounds like formularies
 9      are routinely updated throughout the year based on
10      what CMS publishes.
11                  A.   Correct.
12                  Q.   Got it.     What about the addition of a
13      new plan middle of the year, is that unusual?
14                  A.   That would -- well, that I -- that would
15      be unusual, yes.
16                  Q.   Okay.
17                  A.   But again, this was the year we were
18      sanctioned, so we couldn't sell Topaz right away
19      beginning in 2015.       It was a new plan to us.         So we
20      couldn't sell it until we were relieved of the
21      sanction.
22                  Q.   Got it.     By August 1st, 2015, had the
23      sanction been lifted?
24                  A.   Yes.
25                  Q.   So -- understood.           Let's talk about how

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 1      the Topaz plan differs from the other plans.             It
 2      looks like the Topaz plan has a deductible for brand
 3      name drugs, is that right?
 4                  A.   That is correct.
 5                  Q.   And then it has zero dollar co-pays for
 6      tier 1 drugs like all the other plans?
 7                  A.   At this point in time, yes.
 8                  Q.   It looks like its co-pays for some of
 9      the other drugs are fairly similar to Ruby other than
10      tier 2 is a little higher, it's closer to Sapphire
11      for tier 2; is that right?
12                  A.   Yes.
13                  Q.   And actually as I look down the line, it
14      looks like it's identical to Sapphire all the way
15      down the row; is that right?
16                  A.   It looks that way.
17                  Q.   Okay.    Was Topaz designed as a
18      lower-cost alternative plan?
19                  A.   Yes, it's a zero-dollar premium plan.
20                  Q.   Got it.     So to whom is Topaz offered as
21      a zero-dollar premium plan?
22                  A.   Medicare members.
23                  Q.   Is there an income requirement or an
24      income limit?
25                  A.   No.

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 1                  Q.   The other three plans, Ruby, Sapphire
 2      and Emerald, those all involve some level of premium?
 3                  A.   That's correct.
 4                  Q.   When a drug is removed from a
 5      formulary -- we saw earlier for example there were
 6      brand name drugs that were taken off the formulary --
 7      when a drug is taken off the formulary, does coverage
 8      on that drug halt immediately or is there a
 9      transition period?
10                       MR. WHORTON:        Objection to form.    Vague.
11                  A.   That process has somewhat changed over
12      time but generally speaking, the members are always
13      given a notice that that change is going to occur to
14      the formulary so that they have -- it was at least 60
15      days to work with their physician to choose an
16      alternative or submit a request to choose a new
17      coverage.
18                  Q.   Okay.    What about when a drug is
19      recalled, does coverage halt on that drug?
20                  A.   Yes, if a drug is result, we will pull
21      that for safety reasons from the formulary.
22                  Q.   Okay.
23                  A.   A drug may still be representative on
24      the formulary because the recall may not impact the
25      entire availability of the drug.

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 1                  Q.   Okay.    Got it.       So if a drug is recalled
 2      in its entirety, then it's pulled from the formulary.
 3      If it's not recalled in its entirety, it may stay on
 4      the formulary?
 5                  A.   That's correct.
 6                  Q.   And is there a transition period when a
 7      drug is recalled?
 8                       MR. WHORTON:        Objection.
 9                  A.   No.
10                       MR. WHORTON:        Vague.
11                  Q.   Okay.    I'm going to share my screen
12      again.
13                       MR. OSTFELD:        For counsel on the line, I
14      will represent that the exhibit I'm about to show is
15      the one that's marked as Exhibit 6 in the
16      Exhibit Share, but I'm going to show it on my Excel
17      screen because Exhibit Share doesn't do real well
18      with native spreadsheets.
19      EXH              (Mrakovich Exhibit 6, formulary
20      Changes Excel spreadsheet 2015-2016
21      MSP-SUMMACARE-006239.XLSX, marked for identification,
22      as of this date.)
23                  Q.   So Ms. Mrakovich, hopefully you have an
24      Excel screen in front of you and you are seeing what
25      I have marked for identification as Exhibit 6, a

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 1      spreadsheet?
 2                  A.   Yes.
 3                  Q.   Have you seen this spreadsheet before?
 4                  A.   Probably.
 5                  Q.   And the reason I'm showing you this is,
 6      I want to get a better understanding of the process
 7      when a drug is removed from the formulary.                  So I want
 8      to go through some of these columns first and make
 9      sure that I understand them.
10                       Column A is labeled, "Scenario," and the
11      most common scenario we see here is formulary in 2015
12      and NF in 2016.      Do you know what that means?
13                  A.   Non-formulary, and NF stands for
14      non-formulary.
15                  Q.   Okay.    So are these drugs or -- the
16      scenario, we were looking at a drug that was on the
17      formulary in 2015, and was pulled from the formulary
18      in 2016?
19                  A.   That's correct.
20                  Q.   Okay.    And then "expected result," it
21      says, "Approved in transition, denied for
22      non-formulary outside transition."                  Can you explain
23      what that means?
24                  A.   Yes.
25                  Q.   Okay.

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 1                  A.       So --
 2                  Q.       Sorry, sorry, go ahead.
 3                  A.       This process -- this is testing that we
 4      do at the beginning of the year for formulary
 5      changes.         And for year-over-year changes, we do allow
 6      member transition.           And what that means is, we will
 7      allow them a fill within the first 90 days of the
 8      plan, we'll pay for a 30-day supply and we'll send a
 9      letter to the member and the provider to let them
10      know that we've only covered this as part of
11      transition, and you should work with your prescriber
12      to make sure that you switch to another drug or that
13      you request a prior offer, whatever is needed to
14      continue to take the drug.
15                  Q.       Okay, got it.         And then "E-to-E
16      comments," first of all, what does "E to E comments"
17      mean?
18                  A.       "E-to-E" is end-to-end testing.
19                  Q.       Okay.
20                  A.       And we're looking to identify if the
21      member is in transition or not in transition.
22                  Q.       Okay.    Now, I want to understand.          You
23      said you tested these at the beginning of the year.
24      Are these real-life member scenarios that you're
25      testing or are these hypothetical scenarios?

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 1                  A.   They are hypothetical but they are in
 2      their -- this closely mirrors as close as possible
 3      their live environment.
 4                  Q.   Okay.    So you're identifying actual
 5      members who may be affected by the formulary change
 6      and then you're running a hypothetical scenario of
 7      what that would look like for them, is that correct?
 8                  A.   Yes.
 9                  Q.   Got it.     "HQ code," what is that?
10                  A.   That's our headquarter code.            That is
11      how we define line of business with MedImpact.
12                  Q.   Got it.     And SUM03, is that a code for a
13      particular type of plan?
14                  A.   SUM03 is for Medicare.
15                  Q.   Okay.    Then brand name, that seems
16      self-explanatory.       It looks like in 2016, for
17      example, Exforge came off of the formulary.
18                  A.   Yes.
19                  Q.   And Exforge, that's an ACE inhibitor?
20                  A.   I'm trying -- I think that was an ACE
21      inhibitor section.       Was that -- yeah, I think it was.
22      I don't remember off the top of my head, ACE or ARB,
23      it's one of the two.
24                  Q.   Okay.    What is "Claim ID"?
25                  A.   Claim ID is the came ID and MedImpact

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 1      test system.
 2                  Q.   So is that a claim ID that is assigned
 3      to a hypothetical claim or would these correlate to
 4      actual claim IDs from, like, the previous year?
 5                  A.   This would be -- this should be a
 6      hypothetical.
 7                  Q.   Got it.
 8                  A.   I mean, it's real in their test
 9      environment but it's not linked to an actual claim
10      that's processed at a pharmacy in real life.
11                  Q.   Okay, got it.         Does MedImpact, are these
12      the ones that run the spreadsheet?
13                  A.   Yes.
14                  Q.   So then there's a status code that is
15      either approved or denied.           And from a quick review,
16      it looks like approval or denial is largely tied to
17      the date of the hypothetical.             The January 1, 2016
18      are for the most part approved.              The February 1, 2016
19      are for the most part but not entirely denied.
20                       Can you explain why that is?
21                  A.   Did you say February?
22                  Q.   I'm sorry, April 1, 2016.
23                  A.   Okay.    Yes, so again, they are allowed
24      transition fill without an authorization placed for
25      the first 90 days of the plan.             So we expect for

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 1      those to pay in the first 90 days if it's a drug they
 2      had been taking prior to this change.               If it's a drug
 3      they haven't been taking prior to this change, it
 4      would actually deny them in the first 90 days.               But
 5      if for these members that had been taking it, if --
 6      once you get past the 90 days, it will deny unless
 7      they have received a formulary exception.
 8                  Q.   Okay.    And is the 90 days, is that the
 9      standard transition period for all drugs that come
10      off the formulary?
11                  A.   Yes.
12                  Q.   When a drug comes off of the formulary,
13      but you're still in that transition period, from the
14      member's standpoint, does their co-pay change during
15      the transition?
16                  A.   No.
17                  Q.   In terms of the amount SummaCare pays
18      for the drug that has come off of formulary, is it
19      paying the same amount as it paid the previous year?
20                  A.   As it relates to the difference between
21      the member co-pay?       I guess I need to correct that,
22      because -- um -- these drugs default to a specific
23      tier if they were not on the formulary.               So I'm not
24      sure what tier these were all in 2015.               If they were
25      all tier 4, and they were removed from formulary,

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 1      then they would still all process in tier 4 in this
 2      transition.
 3                       If they were in tier 3 in the prior
 4      year, and the drug came off, then it would default to
 5      tier 4 as a non-formulary drug or brand.
 6                  Q.   Got it.
 7                  A.   So their co-pay may change from that
 8      perspective year over year.
 9                  Q.   Okay.    So for example, Exforge, which is
10      row 5 here, and Exforge HCT, which is row 6, if we go
11      to column O we've got a co-pay amount, which is 5.13
12      for Exforge and 9.95 for Exforge HCT.               Based on that
13      co-pay amount, are you able to identify which tier
14      each product is in?
15                  A.   No, because the problem with their
16      testing system is, I don't know if there's a total
17      drug cost on this somewhere.            You cannot count the --
18      the dollars that they put in these are not relevant.
19                  Q.   These are not real dollars?
20                  A.   There's no way 15.13 for a thirty-day
21      supply of Exforge is correct.
22                  Q.   Fair enough.        And when I look over to
23      the right, I see that column Y does have a tier.
24      Would that tell us what tier the drug is in during
25      the transition period, or would that data not be

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 1      meaningful for a transition purpose?
 2                  A.   That would be what it is being paid on
 3      this claim at this point in time during transition,
 4      so, yeah.
 5                  Q.   Okay.    Understanding the numbers aren't
 6      meaningful, I want to get a quick understanding of
 7      what the other column headers mean.                 So column P,
 8      D-e-d amount, what is that?
 9                  A.   Deductible amount.
10                  Q.   Okay.    Column Q, O-O-P amount?
11                  A.   That is the out-of-pocket amount, and it
12      applies to pharmacy only.
13                  Q.   Okay.    Help me understand what that
14      means as it applies to pharmacy only.
15                  A.   So on Medicare, the Part D out-of-pocket
16      is tracked separately than a Part B or medical
17      benefit out-of-pocket.
18                  Q.   What is "Applied TDS"?
19                  A.   Applied to total drug spend.
20                  Q.   Okay.    So that identifies how much is
21      applied to the member's total drug spend?
22                  A.   Yes.
23                  Q.   Okay.    What is applied T-R-O-O-P,
24      "Applied troop"?
25                  A.   Applies to -- I often have to look these

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 1      up, I'll admit to you, Medicare terminology, to keep
 2      them all straight.         One is the TROOP and one is Total
 3      Drug Spend, and they help track them towards their
 4      coverage gap level and their catastrophic levels.
 5                  Q.     Okay, got it.         And we'll talk a little
 6      bit more about those latter.              What about TDT amount
 7      and TROOP amount?
 8                  A.     I don't remember from the testing
 9      purposes how those would vary from the applied vs.
10      what they have there.
11                  Q.     Okay.    Just a few other categories that
12      I was interested in.         Price code AD, what is that?
13                  A.     That tells you the price, the source of
14      the pricing.       If it was AWP or a MAC pricing.
15                  Q.     Okay.    "Used price," what is that?
16                  A.     It -- I'm not certain.
17                  Q.     Okay.    "Discount PCT," discount percent,
18      and "column aging"?
19                  A.     That would be the discount applied to
20      the price code.
21                  Q.     And then the ingredient costs?
22                  A.     That I'm not certain without doing the
23      math.       Should be the calculation of the one times the
24      other.       I'm not certain.       Again, I don't use these
25      testing scenarios to validate pricing.                I use them to

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 1      validate formulary administration.
 2                  Q.     Okay.    If the ingredient cost is equal
 3      to the co-pay amount, which appears to be the case
 4      for Exforge, does that tell you anything meaningful
 5      about it?
 6                  A.     It tells me that the cost of the drugs
 7      in this made-up scenario was less than the member's
 8      co-pay, so they paid the full price.
 9                  Q.     Got it.     So the last thing that I want
10      to understand before we move off of the formularies
11      topic is what happened with SummaCare's formularies
12      when the Valsartan recall occurred.                   So I will share
13      screen.       And I am showing you what has been marked
14      for identification as Exhibit 7.
15      EXH                (Mrakovich Exhibit 7, side-by-side July
16      October November 2018 formularies.pdf, three pages,
17      marked for identification, as of this date.)
18                  Q.     Now, we've done another simplifying
19      exercise here.       So this was not a document you're
20      going to have seen before.             I will represent to you
21      that what we did was extract from the July, October
22      and November 2018 versions of SummaCare's formularies
23      the entries for Diovan, Irbesartan, Losartan,
24      Valsartan, and several other ARBs for each month.
25      And I'm going to ask you to assume for purposes of

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 1      these questions that we have accurately excerpted the
 2      formularies.
 3                       You can rely on what I put in here and
 4      we're at risk if we got it wrong, okay?
 5                  A.   Okay.
 6                  Q.   Now, what we did is, we highlighted the
 7      changes that we saw across this time period.              So for
 8      example, you'll note in July 2018, there's no Diovan;
 9      and in October of 2018, we highlighted the inclusion
10      of Diovan, and by November 2018, that's no longer
11      highlighted because that's no longer a change.               Does
12      that make sense to you?
13                  A.   Yes.
14                  Q.   Okay.    So one change that we noted is
15      the one I just pointed out, that Diovan went from
16      being unlisted in July 2018 to being listed as a tier
17      4 step therapy drug in October and November 2018.                Do
18      you see that?
19                  A.   Yes.
20                  Q.   Do you know who made this change to the
21      formularies?
22                  A.   This is still the Medicare formulary?
23                  Q.   Yes.
24                  A.   That would have been MedImpact.
25                  Q.   Okay.    And to your knowledge, was this

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 1      change made in response to the Valsartan recall?
 2                  A.   Yes.
 3                  Q.   Do you know what alternatives were
 4      needed to satisfy the step therapy requirement for
 5      Diovan?
 6                  A.   Not off the top of my head.
 7                  Q.   Okay.    Do you know if they were other
 8      ARBs or if they were ACE inhibitors or both?
 9                  A.   I do not know.
10                  Q.   With a step therapy situation, is there
11      usually one specific alternative offered or could
12      there be multiple alternatives and they have to try
13      at least one of those before they can step up to the
14      step-restricted drug?
15                       MR. WHORTON:        Object to form, vague.
16                  A.   Usually it does list alternatives,
17      multiple alternatives.         Rarely, unless it's for a
18      clinical reason, would you only be looking for one.
19      So generally, on a brand, you'd be looking at any of
20      the generics available to treat the same condition.
21                  Q.   Okay.    And if there were multiple
22      alternatives, do all of the alternatives have to be
23      tried to satisfy the step therapy requirement or is
24      it just one of the alternatives?
25                  A.   It depends on the therapy requirement.

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 1      Some require one, some require two, and there may be
 2      other variations of that.
 3                  Q.   Okay.    Another change that occurred in
 4      October 2018, Valsartan oral tablet 160 milligram,
 5      320 milligram, 40 milligram, and 80 milligram, came
 6      all into the formulary and the previous generic
 7      version stayed on the formulary.
 8                       Do you know why the Valsartan oral
 9      tablet without HCT was added to the formulary?
10                  A.   I do not.
11                  Q.   And then it looks like all of the
12      generic versions of Valsartan came off the formulary
13      in November 2018; do you know why that occurred?
14                  A.   Not exactly, no.
15                  Q.   Okay.    And then we have a list of other
16      generic and brand drugs which I think are all ARBs,
17      although it's possible some may be ACE inhibitors,
18      were added in November 2018.            Do you know why those
19      were added?
20                  A.   I do not.
21                  Q.   These changes all would have come from
22      MedImpact?
23                  A.   That's correct.
24                  Q.   To your knowledge, were all of these
25      changes in response to the Valsartan recall?

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 1                  A.   I do not know.
 2                  Q.   Okay.    Is MedImpact your Pharmacy
 3      Benefits Manager for your non-Medicare plans as well?
 4                  A.   Yes.
 5                  Q.   Do you know if they made the same
 6      changes across the board to their non-Medicare
 7      formularies at the same time they were making these
 8      changes to the Medicare formulary?
 9                  A.   We manage custom formularies on the
10      commercial side still.
11                  Q.   Got it.     Do you have knowledge of what
12      changes you made on the commercial side to your
13      formularies in response for the Valsartan recall?
14                  A.   Not off the top of my head.             But I can
15      tell you those are more open, especially during that
16      time frame, so we probably were still covering the
17      brand and generics of all the products in some degree
18      on those formularies, so it didn't require same
19      amount of manipulation.
20                  Q.   Got it.     It was just a matter of
21      switching to other drugs that were already on the
22      formulary.
23                  A.   Yes.
24                  Q.   Okay.    Does SummaCare have one Pharmacy
25      and Therapeutic Committee for all of its plans and

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 1      formularies, or does it have separate committees for
 2      each formulary?
 3                  A.   One committee.
 4                  Q.   The four plan names we looked at
 5      earlier, Topaz, Ruby, Sapphire and Emerald, you've
 6      already talked about when Topaz came into existence.
 7      How long has SummaCare been using the terms Ruby,
 8      Sapphire and Emerald for its other Medicare plans?
 9                  A.   I do not know for sure.            That's what
10      it's been since I've been here, but I understand they
11      were different prior.
12                  Q.   Okay.    Do you know what the terms were
13      before you arrived?
14                  A.   I think -- I don't know for certain.
15                  Q.   Okay.    Aside from the different co-pay
16      amounts and for Topaz, the existence of the
17      deductible requirement, are there other significant
18      differences between the prescription drug benefits
19      across those four plans, Topaz, Ruby, Sapphire and
20      Emerald?
21                  A.   No.
22                  Q.   In the time that you have been at
23      SummaCare, has it offered any other plans going by
24      names other than Topaz, Ruby, Sapphire and Emerald?
25                  A.   Yes.

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 1                  Q.   Okay.    What other plans has SummaCare
 2      offered?
 3                  A.   We also offer, but it's part B only, how
 4      I say it, it's -- they're called Amber plans.
 5                  Q.   Okay.
 6                  A.   And we also added Garnet plans.
 7                  Q.   Amber and Garnet.           Okay.   So is Garnet
 8      also a Part B only?
 9                  A.   Garnet is Medicare Advantage, both Part
10      B and Part D.
11                  Q.   Okay.    So if Amber is Part B only, is
12      there a prescription drug benefit as part of the
13      Amber plan?
14                  A.   No.
15                  Q.   For Garnet, how does its prescription
16      drug plan differ from the other four plans that we
17      looked at, if at all?
18                  A.   I can't tell you off the top of my head.
19      It's just -- it came in at a different premium level
20      and there may be some variations in co-pays.               But
21      other than that, all the benefits are the same.
22                  Q.   Do you know, is there a deductible with
23      the Garnet --
24                  A.   There is not.
25                  Q.   -- prescription plans?

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 1                  A.   There is none.
 2                  Q.   Okay.    Earlier we talked about
 3      employer-sponsored Medicare Advantage plans that are
 4      a relatively small piece of the business.                Do those
 5      also use the terms Topaz, Ruby, Sapphire, Emerald,
 6      Garnet, to describe those plans?
 7                  A.   Not -- no.
 8                  Q.   To your knowledge, do any of the
 9      employer-sponsored Medicare Advantage plans have a
10      deductible for prescription drugs?
11                  A.   No.
12                  Q.   Do the co-pays for the
13      employer-sponsored Medicare Advantage plan differ
14      from plan to plan or is there a kind of a universal
15      co-pay structure for the employer plans?
16                  A.   Some of the employer plans near our --
17      some of our individual plans, and others have made up
18      their own co-pay structure.
19                  Q.   So the co-pay structure is negotiated
20      separately for each employer-sponsored Medicare
21      Advantage plan?
22                  A.   Yes.
23                  Q.   Other than the Topaz plan, are you aware
24      of any other SummaCare Medicare plan that has a
25      deductible for prescription drugs?

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 1                  A.     That is the only one.
 2                  Q.     Do any of the Medicare plans have a
 3      coinsurance structure rather than a co-pay structure
 4      for prescription drug benefits?
 5                  A.     None of the individual ones have
 6      coinsurance.
 7                  Q.     Do you know if any of the employer ones
 8      do?
 9                  A.     Off the top of my head, I don't recall
10      if there are or not.
11                  Q.     Okay.    On the commercial plan side, does
12      SummaCare have deductibles for prescription drug
13      benefits for some of its commercial plans?
14                  A.     Yes.
15                  Q.     And does the co-pay structure differ
16      from plan to plan on the commercial side or are there
17      uniform co-pay structures?
18                  A.     There are differences.
19                  Q.     Do you have a sense of what the range of
20      premiums are across the Medicare plans today?
21                  A.     I have a sense, yes.
22                  Q.     You've said that the Topaz plan is a
23      zero plan.       So on the low end of the range it's zero.
24      What's the high end of the range of premium for a
25      SummaCare Medicare plan?

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 1                  A.      I know Emerald is our most expensive
 2      plan, and that's upper one hundreds, low two
 3      hundreds.        I don't remember where that ended up.
 4                  Q.      When you say upper 100s, low 200s,
 5      that's the monthly premium in that?
 6                  A.      Yes.
 7                  Q.      Okay.    Is the concept of out-of-pocket
 8      maximum, is that something that applies to Medicare
 9      plans at all?
10                  A.      On the Part B medical benefits side,
11      yes.    Not on Part D side.
12                          (A pause in the proceedings.)
13                          THE WITNESS:        I know.        I don't know why
14      CMS did that, right?           It's on the part B as in Boy,
15      medical benefits.          The maximum amount would apply.
16                  Q.      In the time you have been at SummaCare,
17      have any of the Medicare plans had a formulary that
18      differs from the comprehensive formulary provided by
19      MedImpact?
20                  A.      Could you say that again?
21                  Q.      Sure, I can probably simplify it.              In
22      the time that you've been at SummaCare, have all of
23      the Medicare plans been on the same formulary?
24                  A.      Yes.
25                  Q.      And that formulary is the one that

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 1      SummaCare selects from the options provided by
 2      MedImpact?
 3                  A.   Yes.
 4                  Q.   In terms of the total cost of a
 5      prescription drug reimbursed under a Medicare plan,
 6      is that -- and I'm talking about the combined cost by
 7      both the member and SummaCare -- is that cost the
 8      same regardless of which plan is used?
 9                  A.   I would say yes.
10                  Q.   The breakdown of the cost can vary
11      depending on which plan, because the co-pay amount
12      varies, is that fair?
13                  A.   Yes.
14                  Q.   So under a higher-cost plan, the member
15      pays a lower co-pay, and SummaCare picks up more of
16      the cost, and vice-versa for a lower-cost plan?
17                  A.   Generally speaking.
18                  Q.   Okay.    But for tier 1, zero dollar
19      co-pay for all of the plans.
20                  A.   Except for what we looked at there.
21      There were some plans that had two dollars.
22                  Q.   Okay, right.        Does SummaCare support
23      mail order pharmacy benefits through its plans?
24                  A.   Yes.
25                  Q.   Are there incentives for mail order

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 1      pharmacies?
 2                  A.   I guess it may be important to note that
 3      mail order and 90-day retail are the same, so we're
 4      not incentivizing mail order over retail.                That
 5      changed over time.       It used to be you could get a
 6      90-day supply of tier 2 and tier 3 drugs at a better
 7      rate at mail than retail 90, but we've since made it
 8      such that it's the same no matter where.
 9                  Q.   Okay.    We've kind of talked around a
10      little bit the difference in coverage phases for
11      Medicare prescription drug coverage, and I'd like to
12      spend a little bit of time going through those phases
13      and getting a better understanding of what they are
14      and how they impact the coverage under the different
15      plans, okay?
16                       So as I understand it, there are
17      different phases of Medicare prescription drug
18      coverage and the amounts paid by the member and
19      potentially by the plan differ, depending on which
20      phase of coverage you're in, is that a fair
21      characterization?
22                  A.   Yes.
23                  Q.   Okay.    And as I understand it, the first
24      phase is generally referred to as the annual
25      deductible phase, is that right?

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 1                  A.   That's correct.
 2                  Q.   All right.       And as I understand it, that
 3      phase is applicable to the extent that there is a
 4      deductible and, during that phase, the member pays
 5      the cost until the deductible is satisfied; is that
 6      correct?
 7                  A.   At a specific tier level as specified,
 8      yes.
 9                  Q.   Okay.    So for most of SummaCare's
10      Medicare plans, there is no annual deductible phase
11      because for most of your plans, there is not a
12      deductible applicable to prescription drugs, right?
13                  A.   Correct.
14                  Q.   Okay.    And the one exception would be
15      Topaz, which does have a deductible for brand drugs,
16      is that right?
17                  A.   Tier 3 and 4 drugs.
18                  Q.   Okay, tier 3 and 4, fair.          So the Topaz
19      member has an annual deductible phase for tier 3 and
20      4 drugs until they have satisfied their deductible?
21                  A.   That's correct.
22                  Q.   Okay.    And in that phase, for those plan
23      members, SummaCare doesn't pay the costs of the
24      prescription drugs until the deductible is satisfied?
25                  A.   That's correct.

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 1                  Q.   So then the next phase, as I understand
 2      it, usually referred to as the initial coverage
 3      period, is that how you've heard it referred?
 4                  A.   Yes.
 5                  Q.   And in that phase the, as I understand
 6      it, the patient is responsible for the co-pay if
 7      there is a co-pay, and then SummaCare picks up the
 8      remaining cost of the prescription drug, is that
 9      right?
10                  A.   Yes.
11                  Q.   And I think as you mentioned earlier,
12      that's similar to how it works with a commercial
13      fully-insured plan.       SummaCare is basically picking
14      up the rest of the tab after the co-pay; is that
15      right?
16                  A.   Yes.
17                  Q.   Okay.    Is there a fixed dollar amount or
18      a fixed range after which the initial coverage period
19      ends?
20                  A.   Yes.
21                  Q.   And has that not changed over time?
22                  A.   It changes every year.             That's
23      established by Medicare.
24                  Q.   Okay.    Do you know what the current
25      number is?

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 1                  A.   It's in the four-thousand-some range.
 2                  Q.   And are you able to approximate how much
 3      that number changes each year, either on a number or
 4      a percentage basis?
 5                  A.   Generally less than a hundred dollars.
 6      But it could be over a hundred.              I don't -- you know,
 7      it's -- it does change each year.               Not by thousands,
 8      but hundred or couple of hundred maybe.
 9                  Q.   Okay.    And that's specifically the
10      number for prescription drug coverage.               Once you've
11      exceeded that number for prescription drug coverage,
12      you move into the next phase?
13                  A.   Yes.
14                  Q.   So when a member has filled more than
15      approximately four thousand dollars' worth of
16      prescription drugs in a given year, they move out of
17      the initial coverage period, is that right?
18                  A.   Correct.
19                  Q.   And then as I understand it, the next
20      phase is known as the coverage gap phase or sometimes
21      the donut hole phase, is that right?
22                  A.   Yes.
23                  Q.   For this one, I think I'd like you to
24      just explain to me what happens to the prescription
25      drug coverage in the coverage gap phase.

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 1                  A.   Well, and that changed significantly
 2      over this whole time frame we're referring to as
 3      well.
 4                       But in the coverage gap phase, what
 5      happens is, the member goes to a coinsurance, which
 6      has changed over the years.            They would pay, for a
 7      generic drug, they would pay 25 percent of the cost
 8      of the generic drug and SummaCare would pay the rest.
 9      And for a brand drug, the member would pay 25 percent
10      of the cost of the drug, SummaCare would pay five
11      percent, that's how it's broken down, and then the
12      manufacturer pays 70 percent for brand name drugs.
13                       So for generic drugs, member pays a
14      percentage and SummaCare pays the balance.
15                  Q.   Okay.    So instead of the co-pay
16      structure, that goes away and then now we're in a
17      coinsurance structure.
18                  A.   Correct.
19                  Q.   And you say today, the coinsurance
20      structure is 25 percent member, 75 percent insurer?
21                  A.   Yes.
22                  Q.   You say that's changed over time.            Can
23      you explain how it's changed?
24                  A.   That percentage has changed as Medicare
25      has worked to, what they call close the gap.              It used

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 1      to be a higher member percentage and each year
 2      they've ratcheted it down.           The last couple of years
 3      have been consistent with 25.
 4                  Q.   Okay.    So, you know, here we're going
 5      all the way back to 2012.          Do you know approximately
 6      what the percentage was on the member side in 2012?
 7                  A.   I do not recall.
 8                  Q.   Putting aside specific years when the
 9      member percentage was higher, do you know
10      approximately what the highest member percentage was
11      before Medicare started closing the gap?
12                  A.   I can't, to be honest, I can't even
13      remember how high it ended up going.
14                  Q.   Okay.    How about in the time you've been
15      with SummaCare, how much has the coinsurance changed
16      in the gap coverage in the time you've been with
17      SummaCare?
18                  A.   I remember it being at 35 percent at one
19      point, and it may have been even higher than that
20      before that.
21                  Q.   Okay.    And then it's just sort of
22      stepped down each year over time?
23                  A.   Not -- yeah, until a point they
24      considered the gap closed now, so it's not looking to
25      adjust as far as I know from here.

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 1                  Q.   Okay.    When we were looking at the
 2      formularies earlier in the restrictions and
 3      requirements codes, there was a GC code, a gap
 4      coverage code.     What happened for drugs that have the
 5      GC designation during the coverage gap period?
 6                  A.   Well, for drugs with a GC, that means
 7      that we will cover them at that initial coverage
 8      phase level through the gap phase.
 9                  Q.   Okay.    So for a GC drug, the member
10      continues to just pay their normal co-pay for that
11      drug.
12                  A.   That's correct.
13                  Q.   Okay.    They don't move into the coverage
14      gap mode of coinsurance?
15                  A.   They do for drugs and they do from their
16      benefit perspective, but for that particular drug and
17      claim, it will just take the co-pay.
18                  Q.   Got it.     Is there a fixed dollar amount
19      or dollar level at which the coverage gap period ends
20      and you move into the next phase of coverage?
21                  A.   Yes.
22                  Q.   Do you know approximately what that
23      level is now?
24                  A.   It's in the seven -- low $7,000 range.
25                  Q.   Okay.    And has that number changed over

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 1      time?
 2                  A.   Yes.
 3                  Q.   Are you able to approximate about how
 4      much that number changes each year?
 5                  A.   Not exactly.        Probably close to similar
 6      ratios, but I can't say for sure.
 7                  Q.   In your experience, has it tended to
 8      move up at approximately the same percentage each
 9      year as the level that initiates the coverage gap
10      period?
11                  A.   Yes, I would -- I would say.
12                  Q.   Okay.    Do you know if they are tied to
13      the same benchmark or the same index?
14                  A.   I have no idea.
15                  Q.   You don't know what index or benchmark
16      is used to adjust those numbers each year?
17                  A.   I do not.
18                  Q.   Okay.
19                  A.   Probably in the hundred-page CMS call
20      letter summary.
21                  Q.   Fair enough.        Do tiers matter during the
22      coverage gap period?
23                       MR. WHORTON:        Objection to form.
24                  A.   Only from the standpoint that the
25      coverage gap level coverage is defined in five tiers.

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 1                  Q.     Okay.    I see.       So you mentioned earlier
 2      that it differs for a brand drug vs. the generic
 3      drug.       So tier placement impacts how the coinsurance
 4      works in the coverage gap period?
 5                  A.     Well, that's based on a brand or a
 6      generic drug.       But we apply -- when you submit to
 7      CMS, you say we define it at a tier level, this is
 8      the tier we'll cover through the gap discount.                 We're
 9      not fussing what drug we cover.                We're just fussing
10      at a tier level.       We thought -- we selected a tier
11      level what drugs will have coverage through the gap,
12      so we applied coverage gap to tier 1.
13                  Q.     Okay.    I see.       Let me make sure that I
14      understand.       So we talked earlier about the drugs
15      that have the GC code.           Do you apply the GC code to
16      all drugs in a particular tier?
17                  A.     Yes.
18                  Q.     Got it.     So all tier 1 drugs are also GC
19      drugs.
20                  A.     Yes.
21                  Q.     Got it.     Do you know approximately what
22      percentage of SummaCare members in the Medicare plans
23      reach the coverage gap phase each year?
24                  A.     I don't have that number off the top of
25      my head.

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 1                  Q.   Okay.    Are you able to approximate a
 2      range of what percentage of SummaCare members reach
 3      the coverage gap phase each year?
 4                  A.   I don't feel comfortable doing that off
 5      the top of my head.       I have resources for that, but I
 6      didn't look at these numbers recently.
 7                  Q.   Is that something that is contained in
 8      SummaCare's public reporting to CMS?
 9                  A.   I'm not sure.
10                  Q.   If you were trying to find the number of
11      what percentage of SummaCare members reached the
12      coverage gap phase each year, is there a particular
13      report or document that you would go to to find that
14      information?
15                  A.   Yes.
16                  Q.   What report or document would you go to?
17                  A.   I could run some reports out of the
18      MedImpact system and there probably, our financing
19      tracks that as well.
20                  Q.   Got it.     Okay, so that takes us to the
21      fourth, and as far as I know the final phase, which
22      is generally referred to as catastrophic coverage, is
23      that right?
24                  A.   Yes.
25                  Q.   And that's triggered above that

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 1      threshold you mentioned before, the seven thousand or
 2      so dollars, is that right?
 3                  A.   Yes.
 4                  Q.   Okay.    So during the catastrophic
 5      coverage phase, what happened to the prescription
 6      drug benefit, how does it change?
 7                  A.   It goes to a five percent -- it's the
 8      greater of five percent for a dollar amount
 9      established for generics, and a dollar amount
10      established for brands.
11                  Q.   Okay.    So the members' share go down
12      when they enter the catastrophic coverage phase?
13                  A.   Yes.
14                  Q.   And then in terms of the costs, the
15      remainder of the costs and who picks those up, does
16      that differ for generic and brand drugs?
17                  A.   I believe that all goes to the plan.             I
18      don't -- I'm not recalling if the manufacturer pays
19      anything in the catastrophic phase.
20                  Q.   Okay.    So -- okay.          So five percent or
21      so is to the member and then the remainder to the
22      plan?
23                  A.   Yes.
24                  Q.   Does the plan, does SummaCare get any
25      additional money from the government from CMS to

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 1      cover members that enter the catastrophic coverage
 2      phase, or is it the same amount regardless?
 3                  A.   As part of the bid process, you estimate
 4      what you believe will go -- how many members you
 5      believe will go into catastrophic, so they build that
 6      into that monthly payment, expecting you to get to a
 7      certain level of catastrophic membership.
 8                  Q.   So that number is baked into the monthly
 9      payment?
10                  A.   Yes.
11                  Q.   Can those monthly payments change during
12      a bid period based on if you have, for example, a lot
13      more customers, a lot more members who go into
14      catastrophic coverage, can you get an adjustment from
15      Medicare for that?
16                  A.   My understanding is that they -- you get
17      the same monthly payment throughout the year based on
18      your bid and that would be trued up later.
19                  Q.   So there's a true-up process to deal
20      with that?
21                  A.   And I'm using the term "true-up."            I
22      don't know the official term.             But yes.
23                  Q.   So if -- for the Medicare plans, if
24      costs dramatically exceed the bid assumptions due to
25      circumstances beyond SummaCare's control, there's a

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 1      way to true up those payments and get more money from
 2      CMS?
 3                  A.   I do believe so.
 4                  Q.   Are you able to approximate what
 5      percentage of SummaCare members reach the
 6      catastrophic coverage phase each year?
 7                  A.   No, that's -- with the gap, I don't
 8      recall.
 9                  Q.   If you wanted to get that information,
10      would you go to the same MedImpact reports you
11      referenced earlier or would there be a different
12      report you would go to for that?
13                  A.   I'd have to look for sure.          I'm not sure
14      if it's all captured on one or if it would be two
15      different reports.
16                  Q.   Okay.    Do you know what the names of
17      those reports are?       Is there a reference you use to
18      describe those reports?
19                  A.   No, I don't know the name.          I just look
20      through the whole list of reports they have
21      available.
22                  Q.   Got it.     Is it your understanding that a
23      low-income Medicare enrollee can receive extra help
24      from the government?
25                  A.   Yes.

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 1                  Q.   To help pay for plan premiums,
 2      deductibles and co-pays?
 3                  A.   Yes.
 4                  Q.   How does that work?
 5                  A.   The member would have to submit to CMS,
 6      or maybe through Social Security, their income level
 7      and they can fall into four different categories
 8      where they may have to pay zero dollars for their
 9      premium, deductibles and co-pay, or they maybe go
10      into a different level where they have an established
11      lower co-pay for generics and a separate established
12      co-pay for brands.
13                       And then there's the highest level.             The
14      least amount of help gives them 15 percent
15      coinsurance for the plan benefit, if that's better,
16      around 15 percent for the plan benefits.
17                  Q.   And is there a formal application
18      process for that extra help?
19                  A.   Yes.    That would be my understanding.
20                  Q.   Okay.    Is the application made through
21      SummaCare or is it made directly with the government?
22                  A.   I believe it's made with the government.
23      We do not make that determination.
24                  Q.   Does SummaCare or its Pharmacy Benefits
25      Manager play any role in administering the extra help

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 1      when it's given?
 2                  A.   When it's approved, then our eligibility
 3      system is updated and we cede that over to MedImpact
 4      so they know how to adjudicate the claim.
 5                  Q.   So it impacts other claims that are
 6      adjudicated by MedImpact?
 7                  A.   Yes.
 8                  Q.   Does it impact the costs that are paid
 9      by SummaCare for a given prescription?
10                  A.   Only from a standpoint that if the
11      member is paying less, we pay the differential.
12                  Q.   Got it.     So the extra help doesn't mean
13      the government gives SummaCare a little extra money
14      to pay for those drugs, it's just they tell you
15      you're operating under a different co-pay structure
16      for those members?
17                  A.   I know the bid as a -- accounts for
18      catastrophic also accounts for what your expected
19      LICS coverage is, so Low Income Subsidy.
20                  Q.   And was that L-I-T or L-I-S?
21                  A.   L-I-C, and then S.            Yes, I've seen it
22      changed.
23                  Q.   Okay.    Does SummaCare require members to
24      use network pharmacies, to use their prescription
25      drug benefit under the Medicare plans?

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 1                  A.   Yes, they should go to the network
 2      pharmacy.
 3                  Q.   Okay.     And who determines the network
 4      pharmacies?
 5                  A.   We use the MedImpact network.
 6                  Q.   Do you have any insights or transparency
 7      into how MedImpact selects pharmacies for its
 8      network?
 9                  A.   I don't think so.
10                  Q.   To your knowledge, do the network
11      pharmacies vary from year to year?
12                  A.   Slightly.
13                  Q.   Does SummaCare provide any coverage for
14      prescriptions that are filled outside of the network?
15                  A.   Yes.
16                  Q.   Okay.     And how does that work?
17                  A.   They would submit a direct member
18      reimbursement and then they would be reimbursed the
19      difference -- they would be reimbursed based on what
20      our contracted rate at a network pharmacy would be.
21                  Q.   I see.
22                  A.   That's their co-pay.
23                  Q.   So if a member fills at an
24      out-of-network pharmacy, they basically pay for the
25      prescription and then they get a reimbursement that

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 1      would be equivalent to what you would have paid to a
 2      network pharmacy.
 3                  A.   Yes.
 4                  Q.   Got it.     And in that sense, the member
 5      is responsible for the difference between that and
 6      the cost of their prescription?
 7                  A.   Yes.
 8                  Q.   Okay.
 9                       MR. OSTFELD:        I'm about to enter into a
10      new phase of the deposition.            The exhibit that I'm
11      going to load is a big one, it's going to take a long
12      time to load.     And it's also 12:37 on your end.
13                       So it seems like it might be a good time
14      for our lunch break but if anybody wants to take a
15      shorter break and then come back and go for a while
16      before lunch, I'm fine with that as well.
17                       VIDEOGRAPHER:         The time is 12:38 p.m.
18      This concludes media 3.
19                       (Luncheon recess:             12:38 p.m.)
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 1                       A F T E R N O O N          S E S S I O N
 2                                  (1:32 p.m.)
 3      T I F F A N I E            M R A K O V I C H ,            having
 4                   been previously sworn, resumed the stand and
 5                   testified further as follows:
 6                           VIDEOGRAPHER:       The time is 1:32 p.m.
 7      This begins media unit 4.
 8                           MR. OSTFELD:      All right, before I resume
 9      my questions, I had a call with Mr. Whorton while we
10      were on our break, and I understand that the witness
11      has a scheduling conflict at 3 o'clock Eastern Time.
12      So he offered tomorrow to finish the deposition.
13      Unfortunately, I have basically no holes in my
14      calendar tomorrow.
15                           So what we've agreed to do is get as far
16      as we can in the next hour-and-a-half, and then we'll
17      just find a time that works for folks and finish up
18      whatever we're not able to do today on a later date.
19                           Charlie, does that accurately reflect
20      what we discussed?
21                           MR. WHORTON:      It does, thanks, Greg.
22                           MR. OSTFELD:      Okay.
23      EXAMINATION (Cont'd.)
24      BY MR. OSTFELD:
25                  Q.       All right, so Ms. Mrakovich, in your

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 1      role at SummaCare, are you involved in negotiation of
 2      SummaCare's agreements with its Pharmacy Benefits
 3      Manager?
 4                  A.   Yes.
 5                  Q.   Has that been true for as long as you've
 6      been the Director of Pharmacy?
 7                  A.   Yes.
 8                  Q.   Okay.    What is your role in that
 9      process?
10                  A.   We actually hire a third-party vendor to
11      assist us in reviewing the contracts and, you know,
12      if we go to RFP, evaluating all the vendors and
13      having a feel for where the market's going to make
14      sure that we get a fair price in the market.
15                  Q.   Okay.    So, and I apologize, it may be on
16      my end, but your voice sounds a little softer to me
17      than it did before the break.             I don't know if you're
18      further from the phone but if there's anything we can
19      do on your end?
20                  A.   Is that any better?
21                  Q.   I think that's a little better, yeah.
22                  A.   Okay.
23                  Q.   Okay.    So I am going to share screen and
24      I will show you what has been marked for
25      identification as Exhibit 8.

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 1                    For the record, this is a document
 2      entitled, "Service Agreement between SummaCare, Inc.,
 3      and MedImpact Healthcare Systems, Inc."          I believe
 4      this one is from October 2011, with 2016 through 2018
 5      amendments.
 6      EXH           (Mrakovich Exhibit 8, PBM Agreement with
 7      MedImpact, 225 pages, Bates numbered
 8      MSP-SUMMACARE-005978 through 006202, marked for
 9      identification, as of this date.)
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18                  Q.   I'd like to next show you what has been
19      marked for identification as Exhibit 9.
20      EXH              (Mrakovich Exhibit 9, e-mail chain Bates
21      numbered MSP-SUMMACARE-2670 through 2672, marked for
22      identification, as of this date.)
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17                  Q.   I am going to show you what has been
18      marked for identification as Exhibit 10.          It bears
19      Bates numbers MSP-SUMMACARE-2358 through 2359.
20      EXH              (Mrakovich Exhibit 10, MedImpact recall
21      letter 7/18/18, Bates numbered MSP-SUMMACARE-002358
22      and 2359, marked for identification, as of this
23      date.)
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22                  Q.   All right.     I'm now going to show you
23      what's been marked for identification as Exhibit 11.
24      EXH              (Mrakovich Exhibit 11, MedImpact member
25      letter dated 7/18/18, with cover e-mail, Bates

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 1      numbered MSP-SUMMACARE-003035 through 3041, marked
 2      for identification, as of this date.)
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24                    MR. OSTFELD:        Sorry, this next one is
25      taking a moment to load.

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 1                    (A pause in the proceedings.)
 2      EXH           (Mrakovich Exhibit 12, MedImpact Camber
 3      recall letter with cover e-mail chain, Bates numbered
 4      MSP-SUMMACARE-002836 through 2839, marked for
 5      identification, as of this date.)
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13                  Q.   I'm now showing you what has been marked
14      for identification as Exhibit 13.
15      EXH              (Mrakovich Exhibit 13, MedImpact Torrent
16      recall letter with cover e-mail chain, Bates numbered
17      MSP-SUMMACARE-2823 through 2826, marked for
18      identification, as of this date.)
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12                    MR. OSTFELD:        Given time constraints,
13      I'm going to skip ahead to what's been marked for
14      identification as Exhibit 15.          This is an e-mail
15      bearing Bates numbers MSP-SUMMACARE-3032 through
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 1                    MR. OSTFELD:        I'm at a decent stopping
 2      point and I know that we're about two minutes away
 3      from what I know is your stopping point.            Do we want
 4      to stop here for the day?
 5                    THE WITNESS:        I'm good with that.
 6                    MR. OSTFELD:        Okay.      Charlie and I will
 7      circle off and we'll schedule the next session.
 8                    MR. WHORTON:        Sounds good.
 9                    VIDEOGRAPHER:         The time is 2:58 p.m.
10      Here ends this session of the deposition of Tiffanie
11      Mrakovich.
12                    (Time noted:        2:58 p.m.)
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                     Federal Rules of Civil Procedure

                                     Rule 30



         (e) Review By the Witness; Changes.

         (1) Review; Statement of Changes. On request by the

         deponent or a party before the deposition is

         completed, the deponent must be allowed 30 days

         after being notified by the officer that the

         transcript or recording is available in which:

         (A) to review the transcript or recording; and

         (B) if there are changes in form or substance, to

         sign a statement listing the changes and the

         reasons for making them.

         (2) Changes Indicated in the Officer's Certificate.

         The officer must note in the certificate prescribed

         by Rule 30(f)(1) whether a review was requested

         and, if so, must attach any changes the deponent

         makes during the 30-day period.




         DISCLAIMER:     THE FOREGOING FEDERAL PROCEDURE RULES

         ARE PROVIDED FOR INFORMATIONAL PURPOSES ONLY.

         THE ABOVE RULES ARE CURRENT AS OF APRIL 1,

         2019.   PLEASE REFER TO THE APPLICABLE FEDERAL RULES

         OF CIVIL PROCEDURE FOR UP-TO-DATE INFORMATION.
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                    VERITEXT LEGAL SOLUTIONS
          COMPANY CERTIFICATE AND DISCLOSURE STATEMENT

     Veritext Legal Solutions represents that the
     foregoing transcript is a true, correct and complete
     transcript of the colloquies, questions and answers
     as submitted by the court reporter. Veritext Legal
     Solutions further represents that the attached
     exhibits, if any, are true, correct and complete
     documents as submitted by the court reporter and/or
     attorneys in relation to this deposition and that
     the documents were processed in accordance with
     our litigation support and production standards.

     Veritext Legal Solutions is committed to maintaining
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     the Health Insurance Portability and Accountability
     Act (HIPAA), as amended with respect to protected
     health information and the Gramm-Leach-Bliley Act, as
     amended, with respect to Personally Identifiable
     Information (PII). Physical transcripts and exhibits
     are managed under strict facility and personnel access
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